
600 S.E.2d 469 (2004)
Ronda F. WRIGHT
v.
Corey A. KRAUS.
No. 278P04.
Supreme Court of North Carolina.
June 24, 2004.
Lawrence P. Margolis, for Ronda F. Wright.
Lisa F. Schwanz, for Corey A. Kraus.

ORDER
Upon consideration of the petition filed on the 8th day of June 2004 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*470 "Denied by order of the Court in conference, this the 24th day of June 2004."
